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              In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                       No. 16-382V
                                   (Not to be published)

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                                                 *
MARIA DEL PILAR VARELA-AVILA,                    *
                                                 *
                     Petitioner,                 *       Filed: September 29, 2017
                                                 *
             v.                                  *       Decision by Stipulation; Damages;
                                                 *       Tetanus-diphtheria (“TD”);
                                                 *       Measles-mumps-rubella (“MMR”);
SECRETARY OF HEALTH AND                          *       Influenza (“Flu”) Vaccine;
HUMAN SERVICES,                                  *       Myelitis.
                                                 *
                     Respondent.                 *
                                                 *
*****************************
John Robert Howie, Jr., Howie Law, PC, Dallas, TX, for Petitioner.

Lara Ann Englund, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                            DECISION AWARDING DAMAGES1

      On March 24, 2016, Petitioner Maria Del Pilar Varela-Avila filed a petition seeking
compensation under the National Vaccine Injury Compensation Program (“the Vaccine
Program”).2 Petitioner alleges that she suffered myelitis and related complications as a result of

1
  Because this decision contains a reasoned explanation for my action in this case, I will post this
decision on the United States Court of Federal Claims’ website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the
parties may object to the posted decision’s inclusion of certain kinds of confidential information.
Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request redaction
“of any information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b). Otherwise, the whole decision will be available to the public. (Id.)
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C.A. ' 300aa-10-' 300aa-34 (West 1991 & Supp. 2002). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. ' 300aa.
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receiving the tetanus-diphtheria (“TD”), measles-mumps-rubella (“MMR”), or influenza (“flu”)
vaccines.

        Respondent denies that Petitioner’s myelitis and any related medical problems were caused
by the receipt of the TD, MMR, or flu vaccines. Nonetheless both parties, while maintaining their
above-stated positions, agreed in a stipulation filed September 12, 2017 that the issues before them
can be settled and that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

              a. A lump sum of $165,874.62 in the form of a check payable to Petitioner; and

              b. A lump sum of $99,429.41 in the form of a check payable jointly to Petitioner
                 and Parkland Health and Hospital System, 8435 Stemmons Freeway, Suite 340,
                 Dallas, Texas 75247.

Stipulation ¶ 8.

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.3


       IT IS SO ORDERED.

                                                            /s/ Brian H. Corcoran
                                                               Brian H. Corcoran
                                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing
notice renouncing their right to seek review.

                                                  2
